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                 Exhibit
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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


Philadelphia Yearly Meeting of the
Religious Society of Friends, et al.,

                Plaintiffs,

v

U.S. Department of Horneland
                                                    Civil Case No.
Security, et al.,

                Defendants



                          DECLARATION OF ROBIN MOHR

    I, Robin Mohr, declare under penalty of perjury, under 28 U.S.C. $ 1746, that

the following is true and correct:

    1. I am Clerk of the Green Street Meeting, located in Philadelphia,
        Pennsylvania.

    2. Green Street Meeting is a Monthly Meeting. It is one of the seven Monthly
        Meetings that constitute the Philadelphia Quarterly Meeting, and it is part

        of the Philadelphia Yearly Meeting.

    3. I have attended Green Street Meeting since 2011 and became a member in
        20t2.

    4. I have served as Clerk of the Nominating Committee and Clerk of the
        Children s Religious Education Committee and been a member of the


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   Property Committee and Hospitality committee at the Green street

   Meeting.

5. And I am an attender and participant at annual sessions of Philadelphia
    Yearly Meeting.

6. I previously attended. and was a member of the San Francisco Monthly
    Meeting, which I attended from 1995 to 2011.

7. While a member of the San Francisco Monthly Meeting, I was a member of
    the Ministry and Oversight Committee, Children's Religious Education

    Committee, News Committee, and Hospitality Committee.

8. From 2011 until 2024,I was formerly the Executive Secretary of the Friends
    World Committee for Consultation, Section of the Americas, which fosters

    fellowship among all the branches of the Religious Society of Friends.

9. I am also a speaker, writer, and movement }eader within the Reiigious
    Society of Friends. I speak and write about the sustainability of the

    denomination, how our modern practice builds on our traditionai practices,

    and building bridges among different branches of Friends and across

    differences oftheology, language, geography, and cultural and racial

    divisions.

Relationship between Green Street Meeting and Philadelphia Yearly
                            Meeting
 10. Green Street lVleeting is one of the member monthly meetings that makes

    up Philadelphia Yearly Meeting.




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11. Members of Green Street Meeting have been staff members or volunteers

    with different committees of the Philadelphia Yearly Meeting.

12. The Philadelphia Yearly Meeting provides programming support to the

    Green Street Meeting, including spiritual formation programs and sessions

    for dealing with the business of the Philadelphia Yearly Meeting.

13. The Philadelphia Yearly Meeting also provides financial support to the

    Green Street Meeting, including for the education of children, for members

    experiencing economic hardships, and for those suffering for conscience's

    sake, including money to support the family of a Friend who has been

    imprisoned for conscience-related reasons.

14. Green Street Meeting makes a financial contribution every year to the

    Philadelphia Yearly Meeting.

                 My worship at the Green Street Meeting

15. I regularly attend weekly worship at the Green Street Meeting.

 16. Worship is held in expectant waiting on the movement of the Holy Spirit.

 17. It begins with peopie gathering in silence to listen for God speaking to us.

    When we stop talking, we can hear more clearly.

 18. If someone feels moved by the Holy Spirit to minister out loud, they may be

    moved to rise and speak.

 19. Our worship is called "unprogrammed worship," because there is no plan for

    who will speak, or when. There may be messages for anyone in the room.




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20. After worship concludes, we share food, which is an important part of our

    spiritual practice of community.

21. The Green Street Meeting offers remote participation in weekly worship via

    Zoom.

22. While it is important because it allows people who are not able to attend in

    person to participate in weekly worship, I have a much deeper and more

    profound experience when members are gathered together physically.

  The importance of comrnunal worship with all-comers, including
                                 irnmigrants
23. Communal worship is a core aspect of my faith and religious exercise, and

    restrictions on communal worship would negatively affect my religious

    exercise and ability to practice my faith.

24. Quakers have traditionally gathered together in person.

25. We believe that God is speaking all the time. We prepare ourselves to listen

    better when we gather together.

26. There is something in the spiritual nAture of human beings coming together

    that enables us to listen better to the HoIy Spirit speaking to us.

 27. Webelieve in the ability of all people to minister.

28. Openness to all people who come through our doors is part of the Christian

    witness and our Quaker witness. We believe that all peopie are able to

    channel the HoIy Spirit and to minister to our community.

29. Because everyone receives messages of the Holy Spirit in a different way,

    having as many people attend our meetings as possible allows for more

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   people listening, and more opportunities to grasp messages of the Holy

   Spirit from others.

30. Hearing from people who have different experiences and understandings of

   the Holy Spirit enriches our practice.

31. The Quakers have a long tradition of welcoming immigrants and refugees in

   our communities. Supporting the stranger in our midst is part of our

   religious practice.

32. Green Street Nleeting has focused on ensuring that it is an open and

   welcoming community, including for members of the immigrant community.

   Among other things, we welcome people at the door before worship, invite

   visitors and new attenders to introduce themselves, share food together

    after worship, and ensure that our religious education and other materials

    reflect a diversity offaces, voices, and languages.

33. The threat or presence of armed law enforcement officers coming near or

    inside our meeting house during worship would" disrupt the peaceful

   practice of our religion.

34. I believe that the threat or presence of armed law enforcement officers

    coming near or inside our meeting house may deter people foom attending

    worship.

35. The Green Street Meeting has members who are immigrants. Some of them

    have shared their fear of immigration enforcement, even though they are

    U.S. citizens.



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36. If some people cease attending weekly worship, it would negatively affect

   the ability of our attenders and members to gather together for communal

   worship.

37. If some people cease attending weekly worship, my own ability to worship

   will be diminished.

38. We are trad.itionally and currently opposed to the use of armed. violence for

    any puryose.

39. Many Quakers have chosen our denomination because of our commitment to

   peace and nonviolence, and because they understand that Quaker meetings

    are a place ofpeace and nonviolence.

40. The threat or presence of armed law enforcement officers in or near our

    meeting house would be a violation of our space.

41. The threat or presence of armed law enforcement officers coming near or

    inside our meeting house during worship would also make it more difficult

    to center and listen to the word of God inside our hearts.



  Philadelphia, Pennsylvania
  January 26,2025                                           Robin Mohr




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